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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF COLORADO

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Peak Custom Fabrication, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  155 Sutton Lane
                                  Colorado Springs, CO 80907
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  El Paso                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.peakcustomfab.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
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Debtor    Peak Custom Fabrication, Inc.                                                                Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 2381

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    Peak Custom Fabrication, Inc.                                                                   Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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Debtor   Peak Custom Fabrication, Inc.                                               Case number (if known)
         Name

                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    Peak Custom Fabrication, Inc.                                                            Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 21, 2021
                                                  MM / DD / YYYY


                             X   /s/ Nick Gomes                                                           Nick Gomes
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CEO




18. Signature of attorney    X   /s/ Keri L. Riley                                                         Date October 21, 2021
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Keri L. Riley 47605
                                 Printed name

                                 Kutner Brinen Dickey Riley, P.C.
                                 Firm name

                                 1660 Lincoln Street, Suite 1720
                                 Denver, CO 80264
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     303-832-2400                  Email address      klr@kutnerlaw.com

                                 47605 CO
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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 Fill in this information to identify the case:

 Debtor name         Peak Custom Fabrication, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          October 21, 2021                        X /s/ Nick Gomes
                                                                       Signature of individual signing on behalf of debtor

                                                                       Nick Gomes
                                                                       Printed name

                                                                       CEO
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Peak Custom Fabrication, Inc.
 United States Bankruptcy Court for the: DISTRICT OF COLORADO                                                                                         Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 ANB Bank                                                        PPP Loan                                                                                               $493,610.00
 15 West Cimarron
 Street
 ATTN: Scott
 McBride
 Colorado Springs,
 CO 80903
 Nicholas and                                                    Loan to Company                                                                                        $403,000.00
 Anjanette Gomes                                                 for Repayment of
 5458 E. County                                                  Integrity Bank
 Road 1100N                                                      Loan
 Lamar, IN 47550
 Integrity Bank and                                              PPP Loan                                                                                               $395,635.00
 Trust
 1275 Village Ridge
 Point
 ATTN: Toby Roark
 Colorado Springs,
 CO 80132
 SNS Iron Works, Inc.                                            Supplier                                                                                               $310,753.00
 3770 Puritan Way
 Suite B
 ATTN: Marie Ferraro
 Erie, CO 80516
 Winslow Crane                                                                                                                                                          $275,139.74
 Service Co.
 301 West 60th Place
 ATTN: Nicole
 Boesch
 Denver, CO 80216
 Intsel Steel West                                               Supplier                                                                                               $185,734.00
 8573 Ulster Street
 ATTN: Theresa
 Eloriaga
 Henderson, CO
 80640




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Peak Custom Fabrication, Inc.                                                                      Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Cutting Edge Steel                                                                                                                                                     $169,404.45
 101 Miller Drive
 ATTN: Kelly
 Johnson
 Dacono, CO 80514
 Western Steel, Inc.                                                                                                                                                    $150,666.52
 1150 Newport Road
 ATTN: Lisa Tisor
 Colorado Springs,
 CO 80916
 Sterling Steel                                                                                                                                                           $58,658.46
 Services, Inc.
 24400 East Alameda
 Avenue
 Aurora, CO 80018
 Sunstate Equipment                                                                                                                                                       $52,490.29
 Co.
 5552 East
 Washington Street
 ATTN: J. Chubinsky
 Phoenix, AZ 85034
 Silverback                                                                                                                                                               $52,273.36
 Ironworks, LLC
 P.O. Box 532
 ATTN: Val Guereca
 Erie, CO 80516
 H&E Equipment                                                                                                                                                            $51,399.13
 Services
 7500 Pecue Lane
 Baton Rouge, LA
 70809
 General Air Service                                                                                                                                                      $50,992.16
 and Supply
 1105 Zuni Street
 Denver, CO 80204
 Bill's Tool Rental                                                                                                                                                       $36,779.19
 125 South Chestnut
 Street
 Colorado Springs,
 CO 80905
 Ryerson-West                                                                                                                                                             $36,311.18
 6600 US 85
 Commerce City, CO
 80022
 Quality Steel                                                                                                                                                            $35,625.00
 Services, Inc.
 740 Cleveland
 Avenue
 Suite A
 Loveland, CO 80537




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Peak Custom Fabrication, Inc.                                                                      Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Central Steel                                                                                                                                                            $35,022.64
 Service, Inc.
 2764 Welborn Street
 Pelham, AL 35124
 Roy Manufacturing                                                                                                                                                        $34,760.00
 3113 North
 Mississippi Avenue
 Portland, OR 97227
 L&CH Mobile                                                                                                                                                              $28,200.00
 Welding Services
 LLC
 5001 Jasper Street
 ATTN: Lupe Chacon
 Denver, CO 80239
 Colorado Steel, Inc.                                                                                                                                                     $26,103.00
 4836 Van Gordon
 Street
 Wheat Ridge, CO
 80033




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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 Fill in this information to identify the case:

 Debtor name            Peak Custom Fabrication, Inc.

 United States Bankruptcy Court for the:                       DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        1,188,504.29

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        1,188,504.29


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           642,944.62


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        3,194,045.51


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           3,836,990.13




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         Peak Custom Fabrication, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                   12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                          Last 4 digits of account
                                                                                                         number
                   Integrity Bank and Trust:
                   Checking #5338: $2,333.82
                   Payroll #6642: $30,457.72
           3.1.    Deposit #6650: $38,457.72                                                                                                     $71,249.26




           3.2.    ANB Bank:                                                Checking                     8583                                     $3,046.04




           3.3.    First Bank                                               Checking                     0718                                       $341.85



 4.        Other cash equivalents (Identify all)
                   Retention on Projects for work performed; Total balance is approximately $938,492.47;
                   Retention balance does not include adjustments for doubtful or uncollectible amounts

                   Retention may be subject to claims from subcontractors and material suppliers arising
           4.1.    pursuant to CRS 38-22-127                                                                                                   $938,492.47


                   Accounts Receivable from work performed; total A/R balance is $824,710.39, of which
                   approximately $448,000 is likely uncollectible, or collections are doubtful

                   A/R may be subject to claims of subcontractors or material suppliers arising pursuant
           4.2.    to CRS 38-22-127                                                                                                               Unknown



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
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 Debtor         Peak Custom Fabrication, Inc.                                                 Case number (If known)
                Name



 5.        Total of Part 1.                                                                                                     $1,013,129.62
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Office Furniture                                                                 $0.00    Depreciation Sch                  $18,016.00



 40.       Office fixtures
           Office Fixtures                                                                  $0.00    Depreciation Sch                  $24,071.00



 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Office Equipment                                                                 $0.00    Depreciation Sch                        $79.00

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 2
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 Debtor         Peak Custom Fabrication, Inc.                                                 Case number (If known)
                Name




 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                           $42,166.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     See Schedule B(47) attached                                            $0.00    Depreciation Sch                  $25,328.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           See Schedule B(50)                                                               $0.00    Depreciation Sch                  $60,227.00



 51.       Total of Part 8.                                                                                                        $85,555.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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 Debtor         Peak Custom Fabrication, Inc.                                                 Case number (If known)
                Name

 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and          Net book value of        Valuation method used   Current value of
            property                                      extent of           debtor's interest        for current value       debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. South Building (155
                     Sutton Lane,
                     Colorado Springs,
                     Colorado) Lease                      Lease                        Unknown         N/A                                  Unknown




 56.        Total of Part 9.                                                                                                                   $0.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of        Valuation method used    Current value of
                                                                              debtor's interest        for current value        debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            www.peakcustomfab.com - No value assigned                                       $0.00                                                  $0.00



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations
            Customer Lists - No value assigned                                              $0.00                                                  $0.00



 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                                  $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 4
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 Debtor         Peak Custom Fabrication, Inc.                                                Case number (If known)
                Name



 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                      Current value of
                                                                                                                      debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

            Loan - 310 Ent.                                                                                                     $47,653.67




 78.        Total of Part 11.                                                                                                 $47,653.67
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                         page 5
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 Debtor          Peak Custom Fabrication, Inc.                                                                       Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                        $1,013,129.62

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                          $42,166.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $85,555.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                  $47,653.67

 91. Total. Add lines 80 through 90 for each column                                                         $1,188,504.29            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,188,504.29




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 6
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 Fill in this information to identify the case:

 Debtor name         Peak Custom Fabrication, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
       Small Business
 2.1                                                                                                                       $149,900.00                  Unknown
       Administration                                 Describe debtor's property that is subject to a lien
       Creditor's Name                                EIDL Loan secured by substantially all of the
       Colorado District Office                       Debtor's assets
       721 19th Street, Suite 426
       Denver, CO 80202
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   Stearns Bank                                   Describe debtor's property that is subject to a lien                 $493,044.62                  Unknown
       Creditor's Name
       500 13th Street
       P.O. Box 750
       ATTN: Laurie Rodenwald
       Albany, MN 56307
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
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           Case:21-15331-TBM Doc#:1 Filed:10/21/21                                       Entered:10/21/21 11:36:11 Page18 of 46

 Debtor       Peak Custom Fabrication, Inc.                                                     Case number (if known)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.          $642,944.62

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Peak Custom Fabrication, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                    Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                $0.00      $0.00
           Colorado Department of Revenue                            Check all that apply.
           1375 Sherman Street, Room 511                                Contingent
           Denver, CO 80261                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Notice Purposes Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                $0.00      $0.00
           Internal Revenue Service                                  Check all that apply.
           PO Box 7346                                                  Contingent
           Philadelphia, PA 19101-7346                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Notice Purposes Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 14
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 Debtor       Peak Custom Fabrication, Inc.                                                           Case number (if known)
              Name

 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,275.00
          A1 Steel, Inc.                                                        Contingent
          1805 West Yampa Street                                                Unliquidated
          Colorado Springs, CO 80904                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $133.09
          Acme Fire & Safety Equipment Co., Inc.                                Contingent
          1419 South Wahsatch Avenue                                            Unliquidated
          Colorado Springs, CO 80905                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,718.67
          Adept Equipment Services                                              Contingent
          20 Mountain View Lane                                                 Unliquidated
          Colorado Springs, CO 80907                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $336.00
          Advanced Alarm                                                        Contingent
          3710 Sinton Road                                                      Unliquidated
          Suite 210                                                             Disputed
          Colorado Springs, CO 80907
                                                                             Basis for the claim:    Supplier
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $440.00
          American Welding Society                                              Contingent
          8669 NW 36 Street #130                                                Unliquidated
          Miami, FL 33166                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,773.75
          Anatomic Iron Steel Detailing                                         Contingent
          #301-197 Forester Street                                              Unliquidated
          North Vancouver, B.C. Canada                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $493,610.00
          ANB Bank                                                              Contingent
          15 West Cimarron Street                                               Unliquidated
          ATTN: Scott McBride                                                   Disputed
          Colorado Springs, CO 80903
                                                                             Basis for the claim:    PPP Loan
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 2 of 14
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 Debtor       Peak Custom Fabrication, Inc.                                                           Case number (if known)
              Name

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,613.52
          Arnold Machinery                                                      Contingent
          2975 West 2100 South                                                  Unliquidated
          ATTN: Kathie Ward                                                     Disputed
          Salt Lake City, UT 84119
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,896.96
          Axis Business Technologies                                            Contingent
          3004 Nevada Avenue                                                    Unliquidated
          Colorado Springs, CO 80907                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,251.52
          Azz Galvanazing                                                       Contingent
          4400 East 61st Avenue                                                 Unliquidated
          ATTN: Libertad Salazar Tovar                                          Disputed
          Commerce City, CO 80022
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $36,779.19
          Bill's Tool Rental                                                    Contingent
          125 South Chestnut Street                                             Unliquidated
          Colorado Springs, CO 80905                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,278.85
          Camfil
          870 Elkton Drive                                                      Contingent
          Suite 106                                                             Unliquidated
          ATTN: Stacie Landrum                                                  Disputed
          Colorado Springs, CO 80907
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $35,022.64
          Central Steel Service, Inc.                                           Contingent
          2764 Welborn Street                                                   Unliquidated
          Pelham, AL 35124                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Cincinnati Insurance Company                                          Contingent
          c/o Conner Lee Cantrell
                                                                                Unliquidated
          4643 South Ulster Street
          Regency Plaza One, Suite 1250                                         Disputed
          Denver, CO 80237-3334                                              Basis for the claim:    Claim arising under bond and general indemnity
          Date(s) debt was incurred                                          agreement
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 3 of 14
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 Debtor       Peak Custom Fabrication, Inc.                                                           Case number (if known)
              Name

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $550.24
          Clearly Colorado                                                      Contingent
          P.O. Box 77156                                                        Unliquidated
          Colorado Springs, CO 80970                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $874.95
          Colorado Compressed Gases                                             Contingent
          3975 Interpark Drive                                                  Unliquidated
          Colorado Springs, CO 80907                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,568.72
          Colorado Crane and Hoist Corp.                                        Contingent
          4771 South Pierson Way                                                Unliquidated
          Littleton, CO 80127                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,007.70
          Colorado Springs Utilities                                            Contingent
          111 South Cascade Avenue                                              Unliquidated
          Colorado Springs, CO 80903                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $26,103.00
          Colorado Steel, Inc.                                                  Contingent
          4836 Van Gordon Street                                                Unliquidated
          Wheat Ridge, CO 80033                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,554.81
          Colorado Storage Systems                                              Contingent
          5075 Vasquez Blvd.                                                    Unliquidated
          Denver, CO 80216                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $189.87
          Comcast Business                                                      Contingent
          P.O. Box 79519                                                        Unliquidated
          Baltimore, MD 21279-1519                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 4 of 14
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 Debtor       Peak Custom Fabrication, Inc.                                                           Case number (if known)
              Name

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $350.00
          Conspire Before you Hire                                              Contingent
          1495 Garden of the Gods Road                                          Unliquidated
          Suite 102                                                             Disputed
          Colorado Springs, CO 80907
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,432.48
          Copper State Bolt & Nut Co.                                           Contingent
          4910 Northpark Drive                                                  Unliquidated
          Colorado Springs, CO 80918                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,774.48
          Crown Lift Trucks                                                     Contingent
          44 South Washington Street                                            Unliquidated
          ATTN: Armando Barrios                                                 Disputed
          New Bremen, OH 45869
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $169,404.45
          Cutting Edge Steel                                                    Contingent
          101 Miller Drive                                                      Unliquidated
          ATTN: Kelly Johnson                                                   Disputed
          Dacono, CO 80514
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,370.00
          DGS Technical Services, Inc.                                          Contingent
          1875 Big Timber Road                                                  Unliquidated
          Suite A                                                               Disputed
          Elgin, IL 60123
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,415.88
          Drexel Supply Co.                                                     Contingent
          10361 East 106th Avenue                                               Unliquidated
          Brighton, CO 80601                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $58.72
          El Paso County Clerk and Recorder                                     Contingent
          1675 West Garden of the Gods Road                                     Unliquidated
          Colorado Springs, CO 80907                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Peak Custom Fabrication, Inc.                                                           Case number (if known)
              Name

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Elite Cranes, LLC                                                     Contingent
          543 Struthers Ranch Road                                              Unliquidated
          Colorado Springs, CO 80921                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $103.13
          Erickson, Brown & Kloster, P.C.                                       Contingent
          4656 Hilton Parkway                                                   Unliquidated
          Suite 101                                                             Disputed
          Colorado Springs, CO 80907
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $253.10
          Express Tolls                                                         Contingent
          22470 East Stephen D. Hogan Parkway                                   Unliquidated
          Suite 110                                                             Disputed
          Aurora, CO 80018
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Fabtech Consultant                                                    Contingent
          A339                                                                  Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $950.00
          Fabtech Consultant                                                    Contingent
          A339                                                                  Unliquidated
          Sec 47                                                                Disputed
          Noida (India)
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $215.06
          FedEx                                                                 Contingent
          942 South Shady Grove Road                                            Unliquidated
          Memphis, TN 38120                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,097.94
          Foster Electric Corporation                                           Contingent
          1220 Valley Street                                                    Unliquidated
          Colorado Springs, CO 80915                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Peak Custom Fabrication, Inc.                                                           Case number (if known)
              Name

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,992.16
          General Air Service and Supply                                        Contingent
          1105 Zuni Street                                                      Unliquidated
          Denver, CO 80204                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,259.19
          Gerard Daniel Worldwide                                               Contingent
          34 Barnhart Drive                                                     Unliquidated
          ATTN: Simon Fernandez/Davis & Jones                                   Disputed
          Hanover, PA 17331
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $494.03
          GFL Environmental                                                     Contingent
          P.O. Box 77156                                                        Unliquidated
          Colorado Springs, CO 80970                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,499.00
          Grating Pacific Southwest, LLC                                        Contingent
          8401 West Sherman Street                                              Unliquidated
          Tolleson, AZ 85353                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $51,399.13
          H&E Equipment Services                                                Contingent
          7500 Pecue Lane                                                       Unliquidated
          Baton Rouge, LA 70809                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,400.00
          HCDA Engineering, Inc.                                                Contingent
          9 South Weber Street                                                  Unliquidated
          Colorado Springs, CO 80903                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $845.55
          HD Supply                                                             Contingent
          3400 Cumberland Blvd.                                                 Unliquidated
          ATTN: Nicole DeBoe                                                    Disputed
          Atlanta, GA 30339
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       Peak Custom Fabrication, Inc.                                                           Case number (if known)
              Name

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $770.00
          Healthquest Medical, Inc.                                             Contingent
          1495 Garden of the Gods Road                                          Unliquidated
          Colorado Springs, CO 80907                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $857.59
          High Country Staffing                                                 Contingent
          1221 South Clarkson Street                                            Unliquidated
          Suite 316                                                             Disputed
          Denver, CO 80210
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,361.37
          Hilti, Inc.                                                           Contingent
          P.O. Box 650756                                                       Unliquidated
          Dallas, TX 75265                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,348.50
          Inspection Specialties, Inc.                                          Contingent
          12445 East 39th Avenue                                                Unliquidated
          Denver, CO 80239                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $395,635.00
          Integrity Bank and Trust                                              Contingent
          1275 Village Ridge Point                                              Unliquidated
          ATTN: Toby Roark                                                      Disputed
          Colorado Springs, CO 80132
                                                                             Basis for the claim:    PPP Loan
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $185,734.00
          Intsel Steel West                                                     Contingent
          8573 Ulster Street                                                    Unliquidated
          ATTN: Theresa Eloriaga                                                Disputed
          Henderson, CO 80640
                                                                             Basis for the claim:    Supplier
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $28,200.00
          L&CH Mobile Welding Services LLC                                      Contingent
          5001 Jasper Street                                                    Unliquidated
          ATTN: Lupe Chacon                                                     Disputed
          Denver, CO 80239
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       Peak Custom Fabrication, Inc.                                                           Case number (if known)
              Name

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $304.69
          Lightning Bolt, Inc.
          3109 North Cascade Avenue                                             Contingent
          Suite 202                                                             Unliquidated
          ATTN: Lisa Pike                                                       Disputed
          Colorado Springs, CO 80907
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $840.00
          Management Pursuuit, LLC                                              Contingent
          301 South Broadway                                                    Unliquidated
          Turlock, CA 95380                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $381.88
          McMaster-Carr                                                         Contingent
          600 North County Line Road                                            Unliquidated
          Elmhurst, IL 60126                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,737.50
          Metals Consulting Unlimited                                           Contingent
          21047 Wild Turkey Lane                                                Unliquidated
          Cedaredge, CO 81413                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $384.00
          Mug A Bug, Inc.                                                       Contingent
          7185 East U.S. Highway 24                                             Unliquidated
          Colorado Springs, CO 80915                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,260.50
          Natina Products, LLC                                                  Contingent
          1555 N V I P Blvd.                                                    Unliquidated
          Casa Grande, AZ 85122                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $403,000.00
          Nicholas and Anjanette Gomes                                          Contingent
          5458 E. County Road 1100N                                             Unliquidated
          Lamar, IN 47550                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Loan to Company for Repayment of Integrity Bank
          Last 4 digits of account number                                    Loan
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Peak Custom Fabrication, Inc.                                                           Case number (if known)
              Name

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,300.00
          Platinum Powder Coating, Inc.                                         Contingent
          2165 Janitell Road                                                    Unliquidated
          Colorado Springs, CO 80906                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,333.88
          Platte Anchor Bolt                                                    Contingent
          4950 Jackson Street                                                   Unliquidated
          Denver, CO 80216                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $151.00
          Precision Cut Sharpening                                              Contingent
          18345 Countdown Drive                                                 Unliquidated
          Peyton, CO 80831                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,900.00
          Proxedge, LLC                                                         Contingent
          4110 Center Pointe Drive                                              Unliquidated
          Suite 210                                                             Disputed
          Fort Myers, FL 33916
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,088.17
          PRP Stainless                                                         Contingent
          1525A West Orange Grove Avenue                                        Unliquidated
          Orange, CA 92868                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $35,625.00
          Quality Steel Services, Inc.                                          Contingent
          740 Cleveland Avenue                                                  Unliquidated
          Suite A                                                               Disputed
          Loveland, CO 80537
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $471.83
          Quartix, Inc.                                                         Contingent
          875 North Michigan Avenue                                             Unliquidated
          Chicago, IL 60610                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Peak Custom Fabrication, Inc.                                                           Case number (if known)
              Name

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,300.00
          R & R Express                                                         Contingent
          100 Commerce Drive                                                    Unliquidated
          ATTN: Victoria Crawford                                               Disputed
          Pittsburgh, PA 15275
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,947.50
          R & S Powder Coating LLC                                              Contingent
          1329 Paonia Street                                                    Unliquidated
          Colorado Springs, CO 80915                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,482.00
          Redd Iron Inc.                                                        Contingent
          10421 East 106th Avenue                                               Unliquidated
          Brighton, CO 80601                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $34,760.00
          Roy Manufacturing                                                     Contingent
          3113 North Mississippi Avenue                                         Unliquidated
          Portland, OR 97227                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $36,311.18
          Ryerson-West                                                          Contingent
          6600 US 85                                                            Unliquidated
          Commerce City, CO 80022                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,446.48
          Samuel, Son & Co., Inc.                                               Contingent
          1900 Ironoak Way                                                      Unliquidated
          ATTN: Barb Barry                                                      Disputed
          Oakville, Ontario
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,760.00
          Schmueser & Associates                                                Contingent
          811 22 Road                                                           Unliquidated
          ATTN: Jay Thompson                                                    Disputed
          Grand Junction, CO 81505
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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              Name

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Shirt Shop                                                            Contingent
          875 Ford Street                                                       Unliquidated
          Colorado Springs, CO 80915                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $116.00
          Sign Language Network                                                 Contingent
          5440 Turquoise Drive                                                  Unliquidated
          ATTN: Vanessa Emmons                                                  Disputed
          Colorado Springs, CO 80918
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $52,273.36
          Silverback Ironworks, LLC                                             Contingent
          P.O. Box 532                                                          Unliquidated
          ATTN: Val Guereca                                                     Disputed
          Erie, CO 80516
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $310,753.00
          SNS Iron Works, Inc.
          3770 Puritan Way                                                      Contingent
          Suite B                                                               Unliquidated
          ATTN: Marie Ferraro                                                   Disputed
          Erie, CO 80516
                                                                             Basis for the claim:    Supplier
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $140.00
          Stepping Forward                                                      Contingent
          P.O. Box 49432                                                        Unliquidated
          Colorado Springs, CO 80949                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $58,658.46
          Sterling Steel Services, Inc.                                         Contingent
          24400 East Alameda Avenue                                             Unliquidated
          Aurora, CO 80018                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $52,490.29
          Sunstate Equipment Co.                                                Contingent
          5552 East Washington Street                                           Unliquidated
          ATTN: J. Chubinsky                                                    Disputed
          Phoenix, AZ 85034
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       Peak Custom Fabrication, Inc.                                                           Case number (if known)
              Name

 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Superior Finish                                                       Contingent
          3511 East St. Vrain Street                                            Unliquidated
          Colorado Springs, CO 80909                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $26,032.00
          Swan Projects LLP
          No. 41/28, 70 Feet Road                                               Contingent
          Jawahar Nagar, Chennai                                                Unliquidated
          ATTN: Krishnan                                                        Disputed
          Tamil Nadu,, India
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $500.00
          TSquare Drafting                                                      Contingent
          P.O. Box 88219                                                        Unliquidated
          Colorado Springs, CO 80908                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,324.61
          United Reprographic Supply Inc.                                       Contingent
          7076 South Revere Parkway                                             Unliquidated
          Centennial, CO 80112                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,766.68
          Western Hardscape Supply, Inc.                                        Contingent
          1150 Newport Road                                                     Unliquidated
          ATTN: Dena Smith                                                      Disputed
          Colorado Springs, CO 80916
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $150,666.52
          Western Steel, Inc.                                                   Contingent
          1150 Newport Road                                                     Unliquidated
          ATTN: Lisa Tisor                                                      Disputed
          Colorado Springs, CO 80916
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,200.00
          Wheaton & Sprague Engineering, Inc.                                   Contingent
          1151 Campus Drive                                                     Unliquidated
          Unit 100                                                              Disputed
          Stow, OH 44224
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 13 of 14
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 Debtor       Peak Custom Fabrication, Inc.                                                           Case number (if known)
              Name

 3.85      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $275,139.74
           Winslow Crane Service Co.                                            Contingent
           301 West 60th Place                                                  Unliquidated
           ATTN: Nicole Boesch                                                  Disputed
           Denver, CO 80216
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?         No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any
 4.1       Cincinnati Insurance Company
           6200 South Gilmore Road                                                                    Line     3.14
           Fairfield, OH 45014-5141
                                                                                                             Not listed. Explain

 4.2       Copper State Bolt & Nut Co.
           4910 Northpark Drive                                                                       Line     3.23
           Colorado Springs, CO 80918
                                                                                                             Not listed. Explain

 4.3       Internal Revenue Service
           Insolvency Unit                                                                            Line     2.2
           1999 Broadway
                                                                                                             Not listed. Explain
           MS 5012 DEN
           Denver, CO 80202-3025

 4.4       Intsel Steel West
           P.O. Box 301212                                                                            Line     3.48
           Dallas, TX 75303
                                                                                                             Not listed. Explain

 4.5       McMaster-Carr
           P.O. Box 4355                                                                              Line     3.52
           Chicago, IL 60680
                                                                                                             Not listed. Explain

 4.6       Office of the Attorney General
           US Department of Justice                                                                   Line     2.2
           950 Pennsylvania Avenue, NW
                                                                                                             Not listed. Explain
           Suite 4400
           Washington, DC 20530-0001

 4.7       Office of the US Attorney
           District of Colorado                                                                       Line     2.2
           1801 California Street, Suite 1600
                                                                                                             Not listed. Explain
           Denver, CO 80202-2628


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.          $                           0.00
 5b. Total claims from Part 2                                                                            5b.    +     $                   3,194,045.51

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.          $                      3,194,045.51



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 14 of 14
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 Fill in this information to identify the case:

 Debtor name         Peak Custom Fabrication, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Peak Custom Fabrication, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      3:10 Enterprises,                 155 Sutton Lane                                   Cincinnati Insurance               D
             LLC                               Colorado Springs, CO 80907                        Company                            E/F       3.14
                                                                                                                                    G




    2.2      Danick                            10440 Tomahawk Trail                              Cincinnati Insurance               D
             Enterprises, LLC                  Colorado Springs, CO 80908                        Company                            E/F       3.14
                                                                                                                                    G




    2.3      Industrial                        155 Sutton Ln.                                    Cincinnati Insurance               D
             Millwright                        Colorado Springs, CO 80907                        Company                            E/F       3.14
             Contractors, Inc.
                                                                                                                                    G




    2.4      Nicholas and                      5458 E. County Road 1100N                         Cincinnati Insurance               D
             Anjanette Gomes                   Lamar, IN 47550                                   Company                            E/F       3.14
                                                                                                                                    G




Official Form 206H                                                         Schedule H: Your Codebtors                                         Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Peak Custom Fabrication, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                             $7,183,814.72
       From 1/01/2021 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                             $9,367,825.00
       From 1/01/2020 to 12/31/2020
                                                                                                   Other


       For year before that:                                                                       Operating a business                             $6,239,310.00
       From 1/01/2019 to 12/31/2019
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




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 Debtor       Peak Custom Fabrication, Inc.                                                             Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               Westfield Insurance                                         August 2,                        $16,226.48           Secured debt
                                                                           2021:                                                 Unsecured loan repayments
                                                                           $6,904.68                                             Suppliers or vendors
                                                                           September 2,                                          Services
                                                                           2021:
                                                                                                                                 Other
                                                                           $3,899.96
                                                                           October 1,
                                                                           2021:
                                                                           $5,421.84
       3.2.
               Erc                                                         August 18,                       $96,065.85           Secured debt
                                                                           2021:                                                 Unsecured loan repayments
                                                                           $34,145.46                                            Suppliers or vendors
                                                                           August 5,                                             Services
                                                                           2021:
                                                                           $61,920.39                                            Other Payroll


       3.3.
               Gusto                                                       September                        $32,551.49           Secured debt
                                                                           10, 2021:                                             Unsecured loan repayments
                                                                           $22,325.62                                            Suppliers or vendors
                                                                           September                                             Services
                                                                           30, 2021:
                                                                                                                                 Other
                                                                           $10,225.87

       3.4.
               McNichols                                                   August 27,                       $17,106.78           Secured debt
                                                                           2021:                                                 Unsecured loan repayments
                                                                           $7,062.20                                             Suppliers or vendors
                                                                           September 1,                                          Services
                                                                           2021:
                                                                                                                                 Other
                                                                           $3,621.20
                                                                           September
                                                                           16, 2021:
                                                                           $4,088.44
                                                                           September
                                                                           21, 2021:
                                                                           $2,334.94
       3.5.
               Stearns Bank                                                August 13,                       $11,894.74           Secured debt
                                                                           2021                                                  Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 2
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 Debtor       Peak Custom Fabrication, Inc.                                                             Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.6.
               Reliance Metal Center                                       August 10,                       $47,638.91                Secured debt
                                                                           2021:                                                      Unsecured loan repayments
                                                                           $16,141.40                                                 Suppliers or vendors
                                                                           August 20,                                                 Services
                                                                           2021:
                                                                                                                                      Other
                                                                           $5,532.60
                                                                           August 23,
                                                                           2021:
                                                                           $1,163.25
                                                                           August 23,
                                                                           2021:
                                                                           $401.87
                                                                           August 31,
                                                                           2021:
                                                                           $3,060.51
                                                                           September 8,
                                                                           2021:
                                                                           $344.77
                                                                           September 9,
                                                                           2021:
                                                                           $5,690.56
                                                                           September
                                                                           30, 2021:
                                                                           $12,639.65
                                                                           October 11,
                                                                           2021:
                                                                           $2,664.36

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Nicholas Gomes                                              January 21,                          $819.22          Expense Reimbursement
               5458 E. County Road 1100N                                   2021
               Lamar, IN 47550
               Owner of Peak Custom Fabrication,
               Inc.

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.




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 Debtor       Peak Custom Fabrication, Inc.                                                             Case number (if known)



           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case            Court or agency's name and                Status of case
               Case number                                                                 address
       7.1.    Metals Consulting Unlimited                       Collection                El Paso County Court                         Pending
               v. Peak Custom Fabrication                                                                                               On appeal
               2020S000286
                                                                                                                                        Concluded


       7.2.    H&E Equipment Services                            Collection                El Paso County District                      Pending
               2021CV031620                                                                Court                                        On appeal
                                                                                                                                        Concluded

       7.3.    Western Steel, Inc. v. Peak                       Collection                El Paso County District                      Pending
               Custom Fabrication                                                          Court                                        On appeal
               2021CV30894
                                                                                                                                        Concluded

       7.4.    Cincinnati Insurance                              Contract                  United States District Court                 Pending
               Company v. Peak Custom                                                      for the                                      On appeal
               Fabrication, et al.                                                         District of Colorado
                                                                                                                                        Concluded
               21-CV-01759-DDD-KMT

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                             Value

       9.1.    Pikes Peak United Way                             Cash
               518 North Nevada                                                                                          October 27,
               Colorado Springs, CO 80903                                                                                2020                              $1,000.00

               Recipients relationship to debtor
               None




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 4
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 Debtor        Peak Custom Fabrication, Inc.                                                                Case number (if known)



                Recipient's name and address                     Description of the gifts or contributions                  Dates given                  Value

       9.2.     Randy Mansfield                                  10 year anniversary
                17070 Sale Crest Road                                                                                       December 19,
                Peyton, CO 80831                                                                                            2019                   $1,000.00

                Recipients relationship to debtor
                Employee


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss   Value of property
       how the loss occurred                                                                                                                             lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates         Total amount or
                 the transfer?                                                                                                                        value
                 Address
       11.1.     Kutner Brinen Dickey Riley,
                 P.C.
                 1660 Lincoln Street
                 Suite 1720                                          April 8, 2021: $2,000
                 Denver, CO 80264                                    May 19, 2021: $16,738                                                       $18,738.00

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                   Dates transfers     Total amount or
                                                                                                                         were made                    value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

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 Debtor      Peak Custom Fabrication, Inc.                                                              Case number (if known)



               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was               Last balance
               Address                                           account number           instrument                  closed, sold,              before closing or
                                                                                                                      moved, or                           transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents             Do you still
                                                                     access to it                                                                 have it?
                                                                     Address

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 Debtor      Peak Custom Fabrication, Inc.                                                              Case number (if known)



20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
       Colorado Storage Systems                                      David Deese                          Miscellaneous Items                     No
       5075 Vasquel Blvd.                                                                                 Tools                                   Yes
       Denver, CO 80216



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 7
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 Debtor      Peak Custom Fabrication, Inc.                                                              Case number (if known)




          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Cash Flow and Operations                                                                                                   November 1, 2019 to
                    4565 Hilton Parkway                                                                                                        Present
                    Suite 201
                    ATTN: Dave Varnum
                    Colorado Springs, CO 80907
       26a.2.       James F. Gaston                                                                                                            Employee/Accounta
                    155 Sutton Lane                                                                                                            nt
                    Colorado Springs, CO 80907                                                                                                 February 23, 2021 -
                                                                                                                                               July 30, 2021
       26a.3.       Morgan Tribizio                                                                                                            Employee/Accounta
                    155 Sutton Lane                                                                                                            nt
                    Colorado Springs, CO 80907                                                                                                 February 23, 2021 -
                                                                                                                                               July 30, 2021
       26a.4.       Machelle Kushnerick                                                                                                        Former Employee
                    2335 Stepping Stone Way                                                                                                    July 15, 2019 to
                    Colorado Springs, CO 80904                                                                                                 February 19, 2021
       26a.5.       Brian Enns                                                                                                                 7/15/21 - Present
                    155 Sutton Lane
                    Colorado Springs, CO 80907

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Erickson, Brown & Kloster                                                                                                  Tax Preparer
                    4564 Hilton Parkway                                                                                                        2010 to Present
                    ATTN: Jason Homec
                    Colorado Springs, CO 80907

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Cash Flow & Operations
                    4564 Hilton Parkway, Suite 201
                    ATTN: Dave Varnum
                    Colorado Springs, CO 80907
       26c.2.       James F. Gaston
                    155 Sutton Lane
                    Colorado Springs, CO 80907

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 Debtor      Peak Custom Fabrication, Inc.                                                              Case number (if known)



       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.3.       Morgan Tribizio
                    155 Sutton Lane
                    Colorado Springs, CO 80907
       26c.4.       Brian Enns
                    155 Sutton Lane
                    Colorado Springs, CO 80907

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       Integrity Bank and Trust
                    13475 Voyager Parkway
                    Colorado Springs, CO 80921
       26d.2.       ANB Bank
                    15 West Cimarron Street
                    Colorado Springs, CO 80903
       26d.3.       Stearns Bank
                    500 13th Street
                    P.O. Box 750
                    Albany, MN 56307

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Nick Gomes                                     5458 E. County Road 1100N                           Owner                                 100%
                                                      Lamar, IN 47550



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

                Name and address of recipient                    Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value
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 Debtor      Peak Custom Fabrication, Inc.                                                              Case number (if known)



               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 Nick Gomes                                                                                                   October 2020
       .    5458 E. County Road 1100N                                                                                    to October
               Lamar, IN 47550                                   $124,362.00                                             2021              Salary

               Relationship to debtor
               Owner


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         October 21, 2021

 /s/ Nick Gomes                                                         Nick Gomes
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         CEO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                                               United States Bankruptcy Court
                                                                          District of Colorado
 In re      Peak Custom Fabrication, Inc.                                                                             Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Nicholas Gomes                                                                       100% Equity Interest Holder
 5458 E. County Road 1100N
 Lamar, IN 47550


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the CEO of the corporation named as the debtor in this case, declare under penalty of perjury that I have read the
foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date October 21, 2021                                                       Signature /s/ Nick Gomes
                                                                                            Nick Gomes

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                      District of Colorado
 In re      Peak Custom Fabrication, Inc.                                                          Case No.
                                                                                Debtor(s)          Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the CEO of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to the

best of my knowledge.




 Date:       October 21, 2021                                        /s/ Nick Gomes
                                                                     Nick Gomes/CEO
                                                                     Signer/Title




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